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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


    ALEKSEJ GUBAREV,
    XBT HOLDING S.A., and
    WEBZILLA, INC.                                                       Case No.
      Plaintiffs,
                                                                    0:17-cv-60426-UU
    v.

    BUZZFEED, INC. and                                   PUBLIC REDACTED VERSION
    BEN SMITH
      Defendants.


                     DECLARATION OF MATTHEW SHAYEFAR
           IN SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
             ON DEFENDANTS’ “PUBLIC FIGURE” AFFIRMATIVE DEFENSE

   I, Matthew Shayefar, do hereby declare as follows:
          1.       My name is Matthew Shayefar. I am over the age of 18 years. I am an attorney
   licensed in the State of Florida, the State of California and the Commonwealth of Massachusetts.
   I am counsel of record to Plaintiffs in the above captioned action. I am familiar with the facts
   herein and make this declaration from my own personal knowledge.
          2.       On September 15, 2018, I accessed the website at
   https://observer.com/2017/02/ben-smith-buzzfeed-aleksej-gubarev-lawsuit-trump-russia-dossier/
   and made a copy of the article at that page, which is attached hereto as Exhibit 1.
          3.       On September 15, 2018, I accessed the website at
   https://freezepeach.net/2017/11/03/who-the-heck-is-aleksej-gubarev-and-why-is-he-serving-
   john-mccains-friends and made a copy of the blog posting at that page, which is attached hereto
   as Exhibit 2.
          4.




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           5.




           6.




           7.      On July 18, 2017, I accessed the website at
   https://www.bloomberg.com/view/articles/2016-11-01/clinton-plugs-another-weak-story-about-
   trump-s-ties-to-putin and made a copy of the article at that page, which is attached hereto as
   Exhibit 6.
           8.      On September 15, 2018, I went to the Forbes.com website and performed a search
   for “gubarev.” A copy of the results from that search are attached hereto as Exhibit 7. The only
   articles that appeared as results were articles relating to this litigation.
           9.      On September 15, 2018, I went to the WSJ.com website and performed a search
   for “gubarev” being referenced in any source on the WSJ.com website from January 1, 2015
   through January 11, 2017 and the search returned zero results. A copy of the results page is
   attached hereto as Exhibit 8.
           10.     On September 15, 2018, I accessed the website at
   http://www.slate.com/articles/news_and_politics/cover_story/2016/10/was_a_server_registered_t
   o_the_trump_organization_communicating_with_russia.html and made a copy of the article at
   that page, which is attached hereto as Exhibit 9.
           11.     On September 15, 2018, I accessed the website at
   http://www.slate.com/articles/news_and_politics/politics/2016/11/the_trump_server_evaluating_
   new_evidence_and_countertheories.html and made a copy of the article at that page, which is
   attached hereto as Exhibit 10.
           12.     Attached hereto as Exhibit 11 is a copy of the “dossier” as admitted in
   Defendants’ Amended Answer published by BuzzFeed on January 10, 2017, which was attached
   as Exhibit 3 to the Complaint in this matter.
           13.     Attached hereto as Exhibit 12 is a true and correct copy of portions of the
   Transcript of the Deposition of Aleksej Gubarev dated April 30, 2018, including the relevant
   portions of the errata sheet thereto.

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           14.      Attached hereto as Exhibit 13 is a true and correct copy of portions of the
   Transcript of the Deposition of Anna Gubareva.
           15.      Attached hereto as Exhibit 14 is a true and correct copy of portions of Plaintiff
   Aleksej Gubarev’s Objections and Responses to Defendants’ First Set of Interrogatories served
   in this litigation.
           16.      Attached hereto as Exhibit 15 is a true and correct copy of portions of the
   Transcript of the Deposition of Nikolay Dvas, including the errata sheet thereto.
           17.      Attached hereto as Exhibit 16 is a true and correct copy of Exhibit 3 to the
   Deposition of Nikolay Dvas.
           18.      Attached hereto as Exhibit 17 is a true and correct copy of a document produced
   by Plaintiffs in this litigation with the Bates stamp P-P001013.
           19.      Attached hereto as Exhibit 18 is a true and correct copy of Exhibit 7 to the
   Deposition of Nikolay Dvas.
           20.      Attached hereto as Exhibit 19 is a true and correct copy of Exhibit 25 to the
   Deposition of Nikolay Dvas.
           21.      Attached hereto as Exhibit 20 is a true and correct copy of Exhibit 38 to the
   Deposition of Nikolay Dvas.
           22.      Attached hereto as Exhibit 21 is a copy of a Declaration of James W. McDermott
   on behalf of KGlobal, LLC, provided to Plaintiffs’ counsel by counsel for Defendants, relating to
   the documents produced by KGlobal, LLC in connection with this litigation and referenced
   elsewhere in this declaration,
           23.      Attached hereto as Exhibit 22 is a document produced by KGlobal in connection
   with this litigation with Bates number KGlobal 002024.
           24.      Attached hereto as Exhibit 23 is a document produced by KGlobal in connection
   with this litigation with Bates number KGlobal 002689.
           25.      Attached hereto as Exhibit 24 is a sampling of documents produced by KGlobal
   in connection with this litigation that are emails from KGlobal to various publications, which
   constitute a representative sampling of the many other similar or substantially identical emails
   sent by KGlobal and produced by KGlobal in this litigation.
           26.      Attached hereto as Exhibit 25 is a document produced by KGlobal in connection
   with this litigation with Bates number KGlobal 003780.

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           27.     Attached hereto as Exhibit 26 is a true and correct copy of Exhibit 57 to the
   Deposition of Nikolay Dvas.
           28.     Attached hereto as Exhibit 27 is a true and correct copy of Exhibit 59 to the
   Deposition of Nikolay Dvas.
           29.     Attached hereto as Exhibit 28 is a true and correct copy of Exhibit 60 to the
   Deposition of Nikolay Dvas.
           30.     Attached hereto as Exhibit 29 is a true and correct copy of Exhibit PR16 to the
   Deposition of Aleksej Gubarev.
           31.     Attached hereto as Exhibit 30 is a true and correct copy of Exhibit PR21 to the
   Deposition of Aleksej Gubarev.
           32.     Attached hereto as Exhibit 31 is a true and correct copy of Exhibit PR24 to the
   Deposition of Aleksej Gubarev.
           33.     Attached hereto as Exhibit 32 is what I believe to be what was Exhibit PR31 to
   the Deposition of Aleksej Gubarev. A scan of the document was not provided by the court
   reporter, but the transcript indicates that it was a copy of an article for a “Local magazine in
   Cyprus,” (Gubarev Dep., 285:14-21) which Exhibit 32 is.
           34.     Attached hereto as Exhibit 33 is a true and correct copy of Exhibit PR38 to the
   Deposition of Aleksej Gubarev.
           35.     Attached hereto as Exhibit 34 is a true and correct copy of Exhibit PR83 to the
   Deposition of Aleksej Gubarev.
           36.     Attached hereto as Exhibit 35 is a true and correct copy of Exhibit PR35 to the
   Deposition of Aleksej Gubarev.
           37.     Attached hereto as Exhibit 36 is a true and correct copy of portions of Plaintiff
   Aleksej Gubarev’s Third Supplemental Responses to Defendants’ First Set of Interrogatories
   served in this litigation.
           38.     Attached hereto as Exhibit 37 is a true and correct copy of portions of the
   Transcript of the Deposition of Kostyantyn Bezruchenko.
           39.     Attached hereto as Exhibit 38 are two printouts from hostreview.com that I made
   on or about July 18, 2017 that were produced in this litigation with Bates stamps P-F000001
   through P-F000008.



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           40.     Attached hereto as Exhibit 39 is a printout from the XBT.com website that I made
   on or about July 18, 2017.
           41.     Attached hereto as Exhibit 40 is a representative sampling of press releases
   produced in this litigation by Plaintiffs.
           42.     Attached hereto as Exhibit 41 is a document produced by Plaintiffs in this
   litigation Bates stamped P-F000185 through P-F000202.
           43.     Attached hereto as Exhibit 42 is a true and correct copy of portions of the
   Transcript of the Deposition of Aleksej Gubarev dated May 16, 2018.
           44.     Attached hereto as Exhibit 43 is a true and correct copy of Exhibit 3 to the
   Deposition of Aleksej Gubarev on May 15, 2018.
           45.     Attached hereto as Exhibit 44 is a Certificate of Accuracy with a translation of
   emails between Aleksej Gubarev and Leonid Bershidsky, including the emails set forth in
   Exhibit 43 hereto.
           46.     Attached hereto as Exhibit 45 is a copy of the article including the dossier as
   published by Buzzfeed on January 10, 2017, as admitted in Defendants’ Amended Answer,
   which was attached as Exhibit 2 to the Complaint in this matter.
           47.     Attached hereto as Exhibit 46 is a true and correct copy of portions of the
   Transcript of the 30(b)(6) Deposition of Fusion GPS.
           48.     Attached hereto as Exhibit 47 is a true and correct copy of portions of the
   Transcript of the Deposition of David Kramer.
           49.     Attached hereto as Exhibit 48 is a true and correct copy of portions of the
   Transcript of the Deposition of Ken Bensinger.
           50.     Attached hereto as Exhibit 49 is a true and correct copy of portions of the
   Transcript of the Deposition of Benjamin Smith.
           51.     Attached hereto as Exhibit 50 is a true and correct copy of portions of the
   Transcript of the Deposition of Anthony J. Ferrante.

   Signed under the pains and penalties of perjury, this 17th day of September, 2018.


                                                          /s/ Matthew Shayefar
                                                          Matthew Shayefar, Esq.



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